Case: 1:18-cv-00343-TSB Doc #: 15 Filed: 02/13/19 Page: 1 of 1 PAGEID #: 122

AO 450 (Rev. 11/11) Judgment in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

MARINO GILDEN

 

Plaintiff
Vv

3 Civil Action No. 1:18-cv-343
PLATINUM HOLDINGS GROUP, LLC

 

Ne ee

Defendant

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

C1 the plaintiff (name) recover from the

defendant (name) the amount of
dollars ($ ), which includes prejudgment

interest at the rate of %, plus post judgment interest at the rate of % per annum, along with costs.

© the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

of other: Plaintiff is granted default judgment. Plaintiff is awarded $7,331, representing $500 in statutory damages
under the FDCPA; $600 in statutory damages under the OSCPA; $510 in expenses and costs; and $5,721
in attorneys’ fees. This case is TERMINATED on the docket of this Court.

This action was (check one):

 

 

 

01 tried by a jury with Judge presiding, and the jury has
rendered a verdict.
01 tried by Judge without a jury and the above decision
was reached.
FA decided by Judge Timothy S. Black, United States District Judge on a motion for

Default judgment

Date: 2/14/19 (dh. fo
Y

Signature of Clerk or Deputy Clerk
